         CASE 0:20-cv-01316-NEB-BRT Doc. 5 Filed 01/08/21 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 AIYETORO AHEEN HOLMES,                             Case No. 20‐SC‐1316 (NEB/BRT)

                      Plaintiff,

 v.                                              ORDER ACCEPTING REPORT AND
                                                     RECOMMENDATION
 TIMOTHY MULROONEY and PATRICK
 ROBBEN,

                      Defendants.



       The Court has received the December 4, 2020 Report and Recommendation of

United States Magistrate Judge Becky R. Thorson. (ECF No. 4.) No party has objected to

that Report and Recommendation, and the Court therefore reviews it for clear error. See

Fed. R. Civ. P. 72(b); Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (per curiam).

Finding no clear error, and based upon all the files, records, and proceedings in the above‐

captioned matter, IT IS HEREBY ORDERED THAT:

          1. The Report and Recommendation (ECF No. 4) is ACCEPTED;

          2. This matter is DISMISSED WITHOUT PREJUDICE pursuant to 28 U.S.C. §

              1915(e)(2)(B);

          3. Plaintiff Aiyetoro Aheen Holmes’s application to proceed in forma pauperis

              (ECF No. 2) is DENIED;

          4. This matter is UNSEALED;
        CASE 0:20-cv-01316-NEB-BRT Doc. 5 Filed 01/08/21 Page 2 of 2




                a. Access to the Complaint (ECF No. 1), exhibit to the Complaint (ECF

                   No. 1‐1), application to proceed in forma pauperis (ECF No. 2), and

                   statement of Holmes (ECF No. 3) is restricted to only the Court and

                   the parties to this action.

                b. The Report and Recommendation (ECF No. 4) should be unsealed.

         5. The caption of this action is hereby amended to reflect the correct spelling

             of the name of Judge Patrick Robben.




Dated: January 8, 2021                           BY THE COURT:

                                                 s/Nancy E. Brasel
                                                 Nancy E. Brasel
                                                 United States District Judge




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